Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 1 of
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Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 2 of
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Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 3 of
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Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 4 of
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Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 5 of
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Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 6 of
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Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 7 of
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Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 8 of
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Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 9 of
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Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 10 of
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Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 11 of
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Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 12 of
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Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 13 of
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                                           69
Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 15 of
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       Case22-11254
            22-11254Doc
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                                                                       Document Page
                                                                                Page16
                                                                                     1 of
                                                                                       of
                                               30
                                               69
RemoteMD, LLC - Case Number 22-11254



   Fill in this information to identify the case:

    Debtor Name: RemoteMD, LLC

    United States Bankruptcy Court for the Eastern District of Louisiana

    Case number: 22-11254




                                                                            Check if this is an amended filing


   Official Form 425A

   Plan of Reorganization for Small Business Under Chapter 11                                                     10/20

    RemoteMD, LLC Plan of Reorganization, Dated: November 10, 2023

    Petition Date for the Involuntary Chapter 7 Case: October 18, 202 [Dkt. # 1]
    Entry of Order Converting the Case to Voluntary: November 4, 2022 [Dkt. # 29]
    Amended Voluntary Petition Filed by the Debtor: November 7, 2022 [Dkt. # 32]

                 Petition Your rights may be affected. You should read these papers carefully and
                 discuss them with your attorney, if you have one. (If you do not have an attorney,
                 you may wish to consult one.) This Plan is a proposal by the Debtor, RemoteMD,
                 LLC, and subject to court approval after opportunity for objections and a hearing.

    Background for Cases Filed Under Subchapter V:

         A.      Description and History of the Debtor’s Business

                       Since 2008, the Debtor has successfully provided a proprietary system for the
                 delivery of healthcare, conceived and developed by the Debtor for distant/remote or
                 inaccessible locations, such as Oil, Gas & Remote Industrial/Work Sites gaining the
                 company a Global reputation for capability and quality of care on all seven continents.
                 The Debtor further developed the capability to safely & responsibly provide
                 comprehensive care for effectively treating Medical & Traumatic Emergencies, as well
                 as routine Medical Conditions.

                      Debtor provides Consulting Services to assist Corporate Clients with the
                 development, implementation, and management of their Medical Policies and
                 Procedures; including Health & Hygiene Policies & Procedures, Infectious Disease
                 Prevention & Avoidance Strategies; and Drug and Alcohol Avoidance Policies. The
                 Debtor provides Real Time, 24/7/365, Remote Medical Care, Globally, including
                 Subspecialty Care.    Upon request, the Debtor provides Corporate Clients with
{00381052-1}

                                                        Page 1 of 29
       Case
       Case22-11254
            22-11254Doc
                    Doc329
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                           Filed04/04/24
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                                                                  MainDocument
                                                                       Document Page
                                                                                Page17
                                                                                     2 of
                                                                                       of
                                               30
                                               69
RemoteMD, LLC - Case Number 22-11254

               MERP’s, Medical Emergency Response Planning; information outlining Medical &
               Logistical Resources; including geographically specific Hospitals, Medical
               Clinics/Providers, Air, Land & Sea Transportation Providers specific for the duration of
               each and every project.

                     The Debtor also offers training for outside Healthcare Providers who treat
               patients in an Industrial Setting. The Debtor also offers American Heart Association
               Courses, National Association of Emergency Medical Technician Courses, United
               States Coast Guard Courses and other Specialty Courses specific to Industry.

         B.    Creation of a Litigation Trust and Appointment of the Litigation Trustee

                      This Plan provides for the creation of a Litigation Trust. A summary of the
               Litigation Trust is as follows and is further delineated in the attached Litigation Trust
               Agreement:

                       Establishment of a Litigation Trust. On the Effective Date, the Reorganized
               Debtor on their own behalf and on behalf of the holders of Allowed Claims, shall
               execute the Litigation Trust Agreement. See Exhibit A. The entry of the confirmation
               order shall include and constitute approval of the Litigation Trust Agreement and
               authorization of the Debtor to execute the Litigation Trust Agreement. In connection
               with the formation of the Litigation Trust, the Reorganized Debtors shall transfer the
               Initial Litigation Trust Funds to the Litigation Trust.

                     Purpose of the Litigation Trust. The Litigation Trust shall be established for the
               purposes of: (i) making all Plan distributions to holders of Allowed unclassified claims,
               Allowed Administrative Expense Claims, Allowed Priority Tax Claims and Allowed
               classified claims; (ii) confecting all objections to Claims; (iii) collection of the Remote
               Texas Note to the Reorganized Debtor; and (iv) receiving and distributing the proceeds
               derived from the Reserved Causes of Action according to the terms of this Plan, and
               taking such other and further action as the Litigation Trustee deems necessary, in its
               sole discretion, to enforce the rights and obligations associated therewith.

                      Appointment of the Litigation Trustee. On the Effective Date, the individual or
               entity identified by the Petitioning Creditors, or such other individual or entity approved
               by the Bankruptcy Court and the United States Trustee at the Confirmation Hearing,
               shall be appointed as the Litigation Trustee under this Plan. Any successor Litigation
               Trustee shall be appointed as set forth in the Litigation Trust Agreement. The Litigation
               Trustee’s powers, duties, bonding requirements and compensation shall be set forth in
               the Litigation Trust Agreement, which shall be approved by the Court and which the
               Reorganized Debtors shall be specifically authorized to execute in the Confirmation
               Order. The proposed initial Litigation Trustee is Dwayne Murray.

                     Authority of the Litigation Trustee to Settle and Grant Releases. The Litigation
               Trustee is authorized to settle the Retained Causes of Action, and release and
               discharge, to the fullest extent permitted by applicable Law, from the Retained Causes
{00381052-1}

                                                  Page 2 of 29
       Case
       Case22-11254
            22-11254Doc
                    Doc329
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                                                                  MainDocument
                                                                       Document Page
                                                                                Page18
                                                                                     3 of
                                                                                       of
                                               30
                                               69
RemoteMD, LLC - Case Number 22-11254

               of Action to which the Litigation Trustee is a party in accordance with this Plan without
               the need for approval by the Bankruptcy Court. Any settlement effectuated prior to the
               Confirmation Date, upon approval thereof by the Bankruptcy Court or other court of
               competent jurisdiction, shall be deemed incorporated into this Amended Plan by
               reference, and entry of the Confirmation Order, including provisions of such settlement,
               shall be deemed a settlement pursuant to § 1123(b)(3)(A) of the Bankruptcy Code and
               Bankruptcy Rule 9019. With respect to any settlement effectuated subsequent to the
               Confirmation Date, the Litigation Trustee shall have the authority to settle or otherwise
               dispose of any Retained Cause of Action without the need for obtaining approval of the
               Bankruptcy Court, however, the Litigation Trustee, in their discretion, can seek
               approval of the Bankruptcy Court. Further, the Litigation Trustee will be required to file
               a notice of the settlement into the record of this case and serve upon all parties entitled
               to such notice, which includes the sums received by the Litigation Trustee and the
               costs associated with the settlement.

                     Powers and Duties of the Litigation Trustee. The Litigation Trustee’s powers and
               duties shall consist of (i) distributing the Litigation Trust Assets based on the terms of
               the Plan and based on the following priority (a) first for Litigation Trust Expenses and
               Fees; (b) second for Allowed Administrative Claims; (c) third to priority tax claims and
               pro rata to holders of Allowed Class 1, Class 2 and Class 3 Claims; (ii) receiving the
               proceeds derived from the Retained Causes of Action according to the terms of this
               Plan, (iii) investigate, file, prosecute and settle the Retained Causes of Action, (iv)
               taking such other and further action as the Litigation Trustee deems necessary, in its
               sole discretion, to enforce the rights and obligations associated with the Retained
               Causes of Action; and (v) and other such duties which are necessary to give effect to
               the terms and provisions of this Plan.

                     Fees and Expenses of the Litigation Trustee. The Litigation Trustee shall be
               compensated for the services rendered and expenses incurred in accordance with an
               agreement reached between the Debtor, the Litigation Trustee and the Petitioning
               Creditors. The proposed compensation agreement includes the distribution of
               $20,000.00 from the Debtor’s projected disposable income, with a minimum of
               compensation of $40,000.00 and 3% of gross recoveries by the Litigation Trustee in
               the performance of his powers and duties. The Litigation Trust Expenses and Fees as
               agreed will be incorporated into the Litigation Agreement, which is subject to approval
               by the Bankruptcy Court and the United States Trustee at the Confirmation Hearing.

                     Litigation Trust Distributions The Litigation Trustee shall have discretion as to
               when and in what amounts distributions will be made to creditors and other parties in
               interest who will receive payment under the Plan. When funds are distributed to
               parties receiving payments under the plan the Litigation Trustee shall distribute to such
               parties as follows
                     A) 25% to Allowed Professional Fee Claims
                     B) 25% to Other Administrative Claims
                     C) 25% to Tax Claims and
                     D) 25% to the holders of claims in Class 3
{00381052-1}

                                                  Page 3 of 29
       Case
       Case22-11254
            22-11254Doc
                    Doc329
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                                                                  MainDocument
                                                                       Document Page
                                                                                Page19
                                                                                     4 of
                                                                                       of
                                               30
                                               69
RemoteMD, LLC - Case Number 22-11254

                      Applicability of Securities Laws and Reporting Requirements. Under § 1145 of
               the Bankruptcy Code, this Plan and the interests of creditors in the distributions
               provided therein shall be exempt from registration under the Securities Act of 1933, as
               amended, and applicable state and local laws requiring registration of securities. If the
               Litigation Trustee determines, with the advice of counsel, that the Litigation Trust is
               required to comply with the registration and reporting requirements of the Securities
               and Exchange Act of 1934, as amended, or the Investment Company Act of 1940, as
               amended, then the Litigation Trustee shall take any and all actions to comply with such
               reporting requirements and file necessary periodic reports with the Securities and
               Exchange Commission.


                      Termination of Litigation Trust and the Litigation Trustee. The Litigation Trust
               shall terminate no later than the fifth (5th) anniversary of the Effective Date; provided,
               however, that, on or prior to the date three (3) months prior to such termination, a party
               in interest, including the Litigation Trustee, may file a motion to extend the term of the
               Litigation Trust, upon notice to all interested parties and showing that such an
               extension is necessary in the discretion of the Litigation Trustee. Notwithstanding the
               foregoing, multiple extensions may be obtained so long as Bankruptcy Court approval
               is requested at least three (3) months prior to the expiration of each extended term.
               Furthermore, the Litigation Trustee shall further cause the Litigation Trust to be
               terminated within three (3) months of the occurrence of the later of (i) the entry of a
               Final Order by the Bankruptcy Court closing the Bankruptcy Case pursuant to § 350(a)
               of the Bankruptcy Code, or (ii) the final distribution of all net liquidated recovery derived
               from the Retained Causes of Action.

                      The Debtor states that it any funds recovered under the Retained Causes of Action
               will be distributed pursuant to the terms of the Plan, however recovery is uncertain and at
               this time, the Debtor is unable to quantify the amount of any proposed distribution.

         C.    Liquidation Analysis

                      To confirm the Plan, the Court must find that all creditors and equity interest
               holders who do not accept the Plan will receive at least as much under the Plan as
               such claim and equity interest holders would receive in a chapter 7 liquidation. A
               liquidation analysis is attached to the Plan as Exhibit B.

         D.    Feasibility and the Debtor’s ability to make future plan payments and operate
               without further reorganization

                     The Debtor must also show that it will have enough cash over the life of the Plan to
               make the required Plan payments and operate the Debtor’s business. The Debtor,
               among other things, will perform remote medical services, lease of equipment for remote
               medical services, the continuance of factoring its receivables, and the continuance of
               collection of the Remote Receivables.

{00381052-1}

                                                   Page 4 of 29
       Case
       Case22-11254
            22-11254Doc
                    Doc329
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                                                                  MainDocument
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                                                                                Page20
                                                                                     5 of
                                                                                       of
                                               30
                                               69
RemoteMD, LLC - Case Number 22-11254

                      The Debtor and Evergreen Working Capital, LLC reached an agreement, with
               court approval, whereby Evergreen provides the Debtor financing for working capital by
               factoring receivables. Debtor and Evergreen do not have a pre-petition contract for the
               factoring of receivables. No other party or person has a security interest in Debtor’s
               post-petition receivables. Sallyport Commercial Finance, LLC had a first-priority
               security interest in Debtor’s pre-petition receivables, but Evergreen purchased
               Sallyport Commercial Finance, LLC’s interest in the pre-petition receivables and is
               assigned the priming security interest. Upon information and belief, there may be other
               lower priority interests in Debtor’s pre-petition receivables, but, due to the assignment,
               Evergreen has a first priority interest in pre-petition receivables. The Debtor, on a post-
               confirmation basis, will continue with the sale of its accounts receivable to Evergreen
               pursuant to the post-petition agreement reached with court approval. In that regard, all
               obligations arising between Evergreen and the Debtor are deemed to be valid and
               binding obligations which are enforceable against the Reorganized Debtor in favor of
               Evergreen. The Reorganized Debtor, with the confirmation of this Plan, is granted the
               authority to execute all documents and take all actions, to the extent necessary, to
               continue selling and assign the post-confirmation receivables to Evergreen.
               Notwithstanding the foregoing, the Reorganized Debtor reserve the right to reach a
               factoring agreement with another party, reserves the right to terminate any agreement
               with Evergreen subject to the contract in place, or the dispense with factoring
               receivable is the financial conditions are such that it is no longer necessary.

                     The Plan Proponent has provided projected financial information as Exhibit C.

                     The Plan Proponent’s financial projections show that the Debtor will have projected
               disposable income (as defined by § 1191(d) of the Bankruptcy Code) for the period
               described in § 1191(c)(2) of three (3) years. The financial projections indicate that the
               Debtor, after payments for expenditures necessary for the continuation, preservation and
               operations Class 2, and to fund the Liquidation Trust, will have projected disposable
               income of: (i) $3,481.17 for year one; (ii) $220,848.02 for year two; and (iii) $215,578.39
               for year three total of $584,921.34 (as defined by § 1119(d) of the Bankruptcy Code) for
               the payment term as indicated in § 1191(c)(2) in the amounts indicated therein.
               However, the projected disposable total income will be reduced by $20,000.00 to fund
               the Liquidation Trust, such that the distribution is $564,921.34. The financial projections
               are based on historical data, current performance, and the management’s experience.

                    The anticipated Effective Date is December 30, 2023.                  Payments will
               commence pursuant to the terms of this Plan.

                      You should consult with your accountant, financial advisor and/or
               attorney if you have question pertaining to the Debtor's projections.

                     The Debtor, if it is deemed necessary, will file a declaration from Dr. Michael D.
               Kotler prior to the Confirmation Hearing.

               The final Plan payment is expected to be paid on or before the second quarter of 2027.
{00381052-1}

                                                  Page 5 of 29
       Case
       Case22-11254
            22-11254Doc
                    Doc329
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                                                                       Document Page
                                                                                Page21
                                                                                     6 of
                                                                                       of
                                               30
                                               69
RemoteMD, LLC - Case Number 22-11254


         D.    Remedies upon Plan default

                      The Debtor must make monthly distributions of the Projected Disposable Income
               to the Litigation Trustee. If the Debtor fails to make any payments as described herein,
               the Litigation Trustee must give written notice of such default to the Debtor and counsel.
               The Debtor shall have thirty days from the date of such written notice to bring all
               payments current or seek appropriate plan modifications pursuant to § 1193 of the
               Bankruptcy Code within a reasonable amount of time after such default. If the Debtor
               does not timely bring the payments current or seek appropriate plan modifications, the
               Litigation Trustee shall market the business for sale for a six (6) month period. During
               the six-month period the Litigation Trustee must approve all expenditures and no
               payments shall be made to Dr. Kotlar or any insider or affiliate of Dr. Kotlar without the
               express written consent of the Litigation Trustee. If at the end of the six (6) month period
               no buyer has been found, then the Litigation Trustee shall either schedule a liquidation
               auction or convert the proceeding to a Chapter 7 liquidation.

                      A failure by the reorganized Debtor to make a payment to TWC or the Texas
               Comptroller pursuant to the terms of the Plan shall be an Event of Default. If the
               reorganized Debtor fails to cure an Event of Default as to tax payments within ten (10)
               calendar days after service of written notice of default from the TWC or the Texas
               Comptroller, the TWC or the Texas Comptroller may (a) enforce the entire amount of
               its claim, (b) exercise all rights and remedies under applicable nonbankruptcy law, and
               (c) seek such relief as may be appropriate in this court. Notice of the default shall be
               served by first class mail upon the reorganized Debtor at: 880 W. Commerce Rd.,
               Suite 101, New Orleans, LA 70123; Attn: Chief Executive Officer, and upon Debtor’s
               attorney at Heller, Draper, & Horn, LLC, 650 Poydras St., Suite 2500, New Orleans,
               LA 70130; Attn: Greta M. Brouphy, Esq.; gbrouphy@hellerdraper.com.

                    Debtor shall be allowed to cure up to two (2) defaults. Upon a third default, the
               TWC or the Texas Comptroller, at their option, may declare the default non-curable
               and proceed to collect the remainder of the debt.

    Article 1: Summary:

                     The Plan proposes to pay holders of Allowed Claims the Debtor’s Projected
               Disposable Income which includes sums from future services, future contracts,
               payments of the Remote Texas Note and factoring its receivables. Further, the Plan
               anticipates additional potential distributions to holders of Allowed Claims from the
               collection, if any, by the Litigation Trustee of funds from the Retained Causes of Action.

               This Plan provides for:     0     Classes of tax claims
                                           1     Class of secured claims
                                           2     Classes of non-priority unsecured claims; and
                                           1     Class of equity security holders

{00381052-1}

                                                  Page 6 of 29
       Case
       Case22-11254
            22-11254Doc
                    Doc329
                        286Filed
                           Filed04/04/24
                                 11/15/23Entered
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                                                 11/15/2309:43:59
                                                          12:26:40Main
                                                                  MainDocument
                                                                       Document Page
                                                                                Page22
                                                                                     7 of
                                                                                       of
                                               30
                                               69
RemoteMD, LLC - Case Number 22-11254

                      Secured creditor holding Allowed Class 1 Claim is estimated to receive
               distributions, which the proponent of the Plan states is a monthly payment of $393.04
               for a total of 36 payments in an amount of $14,149.31 which includes interest of
               $1,698.65 at 8.50% on the amount owed.

                     Non-priority unsecured creditors holding Allowed Class 2 Claims are estimated to
               receive distributions, which the proponent of the Plan has valued at approximately 41%
               of the estimated Class 2 Claims in the amount of $24,212.62. However, this
               percentage may be reduced based on the amount of claim holders that elect treatment
               as Class 2 creditors.

                      Non-priority unsecured creditors holding Allowed Class 3 Claims are estimated to
               receive distributions, which the proponent of the Plan has valued at approximately
               14.5% - 16.4% of the estimated Class 3 Claims in the range amount of $7,330,079.75 -
               $6,499,279.00. The ranges are estimated and may fluctuate based on the results of
               the Litigation Trust.

                     All creditors and equity security holders should refer to Articles 3 through 6 of this
               Plan for information regarding the precise treatment of their claim. A disclosure
               statement that provides more detailed information regarding this Plan and the rights of
               creditors and equity security holders has not been circulated with this Plan and will not
               be prepared unless by further order of the bankruptcy court.


               Your rights may be affected. You should read these papers carefully and
               discuss them with your attorney, if you have one. If you do not have an attorney,
               you may wish to consult one.

    Article 2: Classification of Claims and Interests:


                 Class Claim or Interest                Voting Rights              Payments

                1        Secured Claim – Texas          Impaired. Entitled to      Monthly Payments to
                         Workforce Commission           vote.                      commence on the
                                                                                   first full quarter
                                                                                   following the
                                                                                   Effective and
                                                                                   continue for 12
                                                                                   quarters.

                2        Convenience Class of           Impaired. Entitled to      Quarterly Payments
                         claims $2,500 or less          vote.                      to commence on the
                                                                                   first full quarter
                                                                                   following the
                                                                                   Effective Date and
{00381052-1}

                                                  Page 7 of 29
       Case
       Case22-11254
            22-11254Doc
                    Doc329
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                                         Entered04/04/24
                                                 11/15/2309:43:59
                                                          12:26:40Main
                                                                  MainDocument
                                                                       Document Page
                                                                                Page23
                                                                                     8 of
                                                                                       of
                                               30
                                               69
RemoteMD, LLC - Case Number 22-11254

                                                                                continue for 8
                                                                                quarters.

                 3        General Unsecured            Impaired. Entitled to    Quarterly Payments
                          Claims                       vote.                    to commence at the
                                                                                end of the first full
                                                                                quarter that is six full
                                                                                months following the
                                                                                Effective Date and
                                                                                continue for 12
                                                                                quarters.

                 4        Interests                    Deemed to have           Retention of
                                                       accepted the Plan.       interests.



    Article 3: Treatment of Administrative Expense Claims and Priority Tax Claims:


         3.1   Unclassified claims        Under § 1123(a)(1), administrative expense claims and
                                          priority tax claims are not in classes.

         3.2   Administrative expense
               Claims                 Each holder of an Allowed Administrative Claim under § 503
                                      of the Bankruptcy Code whose claim is less than $10,000.00
                                      will be paid in full on the effective date of this Plan, in cash,
                                      or upon such other terms as may be agreed upon by the
                                      holder of the claim and the Debtor. Ordinary trade debt
                                      incurred by the Debtor after the Petition Date will be paid on
                                      an ongoing basis in accordance with the ordinary business
                                      practices and terms between the Debtor and its trade
                                      creditors.


                                           Allowed Professional Fee Claims and those of the
                                          Subchapter V Trustee incurred post-petition fees and
                                          expenses allowed to professionals, including attorneys and
                                          accountants employed upon Bankruptcy Court authority to
                                          render services to the Debtor during the Chapter 11 Case as
                                          well as the fees and expenses of the Subchapter V Trustee.
                                          These fees and expenses must be noticed to Creditors
                                          within thirty (30) days of the notice of the Effective Date of
                                          the plan and approved by the Bankruptcy Court prior to
                                          payment. The Professional Fees claims shall be paid in full
                                          in four quarterly payments over a 12-month period either out
{00381052-1}

                                                 Page 8 of 29
       Case
       Case22-11254
            22-11254Doc
                    Doc329
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                                         Entered04/04/24
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                                                          12:26:40Main
                                                                  MainDocument
                                                                       Document Page
                                                                                Page24
                                                                                     9 of
                                                                                       of
                                               30
                                               69
RemoteMD, LLC - Case Number 22-11254

                                           of recoveries from claims or payment by the Reorganized
                                           Debtor. The Debtor shall deposit 50,000 with the Litigation
                                           Trustee on the Effective date of the Plan. Thirty Thousand
                                           dollars out of the deposit shall be paid pro-rata to the holders
                                           of Allowed Professional Fee claims. Twenty thousand
                                           dollars shall be retained by the Litigation Trustee to cover his
                                           costs and expenses.

                                           Holders of all other Allowed Administrative claims shall be
                                           paid over life of the Plan ( other Administrative Claims ) .
                                           The Reorganized Debtor shall pay to the Litigation Trustee
                                           for distribution to such creditors the sum of $25,000.00 in the
                                           first year ( two payments of $12,500.00 on the sixth and
                                           twelve month anniversary of the Effective for distribution pro-
                                           rata to such Other Administrative Claims. The Reorganized
                                           Debtor shall pay 25,000 to the Litigation Trustee on the 18 ,24
                                           and 30th month anniversary of the Effective Date for pro-rata
                                           distribution to such Other Administrative Claims. On the
                                           thirty-six-month anniversary of the Effective Date the
                                           Reorganized Debtor shall pay the balance of the amounts
                                           owed to the holders of Allowed Other Administrative Claims
                                           for distribution to the holders of Allowed Administrative
                                           Claims. To the extent that the holder of an Other Allowed
                                           Administrative Claim is paid by a third party the payments
                                           received shall be applied to reduce the balloon payment
                                           owed to such creditor on the thirty sixth anniversary of the
                                           Effective date.


               Professional                              Estimated Amount

               Counsel for the Debtor                    Fees: $125,000.00
                                                         Costs: $25,000.00


               Accountant for the Debtor
               Cooper CPA Group                          Fees: $3,500.00 (paid)

               Sub V Trustee                             Fees: $20,000.00
                                                         Costs: $2,500.00

               Insurance Claims:

               American Longshore
                Mutal Association, Ltd.                  $4,185.00

{00381052-1}

                                                   Page 9 of 29
       Case 22-11254 Doc 329
                         286 Filed 04/04/24
                                   11/15/23 Entered 04/04/24
                                                    11/15/23 09:43:59
                                                             12:26:40 Main Document Page 25
                                                                                         10 of
                                                  30
                                                  69
RemoteMD, LLC - Case Number 22-11254

                 Potential Other Allowed Administrative Claims:

                 Elman 880-990 Associates LP             $186,605.33 (contested amount)




         3.3     Tax Claims                 Tax Claims are unsecured income, employment, and other
                                           taxes described by § 507(a)(8) of the Code and those that
                                           have arisen post petition . Unless the holder of such a §
                                           507(a)(8) Tax Claim agrees otherwise, the holder of such tax
                                           claims will receive quarterly payments of principal and
                                           interest calculated at the rate set forth in 11 USC 511 based
                                           upon a ten year amortization with a balloon payment due in
                                           the 3rd anniversary of the Effective date. i The Reorganized
                                           Debtor may prepay, without penalty, at any time any Allowed
                                           Tax Claim and to the extent necessary pay a balloon
                                           payment at the end of the installment period. The estimated
                                           claim amounts are:

         Taxing Authority                  Amount                 Notes

         Internal Revenue Service          $200,000( estimated)              POC # 7 and post petition
                                           amounts owed

         FL Dept. of Revenue               $733.91                POC # 37

         LA Dept. of Revenue               $2,011.71              POC # 40
         LA Dept. of Revenue               $5,349.64              POC # 41


         Texas Workforce Commissions       $8,095.16              POC #42

         Bureau of Revenue & Tax
         Property Tax Division             $1,471.61              Sch. D

         Total                             $17,962.03




    Article 4: Treatment of Claim and Interest Under the Plan:

        Claims and interest shall be treated as follows under this Plan, claims that are impaired are entitled
    to vote to accept or reject the Plan.

{00381052-1}

                                                  Page 10 of 29
       Case 22-11254 Doc 329
                         286 Filed 04/04/24
                                   11/15/23 Entered 04/04/24
                                                    11/15/23 09:43:59
                                                             12:26:40 Main Document Page 26
                                                                                         11 of
                                                  30
                                                  69
RemoteMD, LLC - Case Number 22-11254




               Class                              Impairment          Treatment
    2.1        Class 1 – Secured Creditor             Impaired.       Class 1 consists of the Allowed Secured
               Texas Workforce Commission                             Claim pursuant to Proof of Claim Number
                                                                      1 as filed by the Texas Workforce
                                                                      Commission in the amount of $12,450.66
                                                                      subject to an annual interest rate of
                                                                      8.50% and is secured by a tax lien to all
                                                                      real and personal property of the Debtor.
                                                                      Holder to the Class 1 Allowed Secured
                                                                      Claim will receive distributions as follows:

                                                                      Monthly payment of Monthly Payments of
                                                                      $393.04 to commence on the first full
                                                                      quarter following the Effective and
                                                                      continue for 12 quarters, for a total
                                                                      payment of $14,149.31 which includes
                                                                      $1,698.65 in interest.

    2.2          Class 2 – Convenience Class          Impaired.       Class 2 consists of Allowed General
                 Claims below $2,500.00 (and                          Unsecured Claims allowed under § 502 of
                those who wish to reduce their     Entitled to Vote   the Bankruptcy Code in an amount less
                     claim for $2,500.00)                             than $2,500.00 or those that reduce their
                                                                      claims to $2,500.00 Holders of Class 2-
                See Exhibit D for Claims List                         Allowed General Unsecured Claims will
                                                                      receive distributions as follows:

                                                                       Pro rata payments out of a fund of
               Estimated amount is $24,562.37                         $10,000.00 to be paid quarterly in eight
               exclusive of creditors who elect                       (8)    equal    payments    commencing
                      Class 2 treatment                               commence on the first full quarter
                                                                      following the Effective Date or until the
                                                                      claims are paid in full.

                                                                       Holders of claims are to submit the
                                                                      Notice of Consent attached hereto as
                                                                      Exhibit E that will be served with this
                                                                      Plan and to be returned on the ballot
                                                                      voting deadline.

                                                                      The holder of a Class 2 Claim is impaired
                                                                      and is entitled to vote to accept or reject
                                                                      the Plan.

                                                                      Estimated pro rata distribution is 41% for
                                                                      Class 2 exclusive of claims that elect
{00381052-1}

                                                     Page 11 of 29
       Case 22-11254 Doc 329
                         286 Filed 04/04/24
                                   11/15/23 Entered 04/04/24
                                                    11/15/23 09:43:59
                                                             12:26:40 Main Document Page 27
                                                                                         12 of
                                                  30
                                                  69
RemoteMD, LLC - Case Number 22-11254

                                                                          treatment under Class 2. The rate of
                                                                          distribution may be altered based on
                                                                          holders of claims that elect Class 2
                                                                          treatment.

    2.3        Class 3 – General Unsecured               Impaired         Class 3 consists of Allowed General
               Claims over $2,500.00                                      Unsecured Claims allowed under § 502 of
                                                     Entitled to Vote     the Bankruptcy Code, and holders of
                See Exhibit D for Claims List                             Allowed General Unsecured Claims will
                                                                          receive distributions as follows:
                 Estimated Amount range is
                $7,392,213.89 - $6,542,644.00                             Payment frequency:              Twelve (12)
                                                                          Quarterly payments commencing on the
                Projected Disposable Income:                              at the end of the first full quarter that is six
                        $554,921.34                                       full months following the Effective Date for
                                                                          a total of three (3) years of payments.
               Which includes the reduction for
                    the $20,000.00 for the                                The holders of Class 3 - Allowed General
                  Liquidation Trust and the                               Unsecured Claims are Impaired, and
               $10,000.00 reduction for Class 2                           thus, are entitled to vote to accept or
                                                                          reject the Plan.

                                                                          Estimate distribution is 7.5% - 8.5% for
                                                                          Class 3. The rate of distribution may be
                                                                          altered based on the results of any
                                                                          objections filed by the Litigation Trustee
                                                                          that are sustained.

    2.4           Class 4 - Equity Holders          Unimpaired            Class 4 equity security holder, which
                  Interests                         assumed to            consists solely of Dr. Michael Kotler, will
                                                    accept the plan.      not be impaired by this Plan. The Class 4
                                                    Not entitled to       equity security holder will continue to own
                                                    vote.                 100% of the reorganized Debtor.


    Article 5: Allowance and Disallowance of Claims:

          5.1      Disputed claims              A disputed claim is a claim that has not been allowed by a
                                                final non-appealable order, and as to which either: (i) a proof
                                                of claim or Motion for Administrative Expense has been filed
                                                or deemed filed, and the Debtor or another party in interest
                                                has filed an objection to such claims ; or (ii) no proof of claim
                                                has been file or was filed after the bar date, and the Debtor
                                                has scheduled such claim as disputed, contingent, or
                                                unliquidated.

                                                Here the deadline for parties in interest to file a proof of
{00381052-1}

                                                       Page 12 of 29
       Case 22-11254 Doc 329
                         286 Filed 04/04/24
                                   11/15/23 Entered 04/04/24
                                                    11/15/23 09:43:59
                                                             12:26:40 Main Document Page 28
                                                                                         13 of
                                                  30
                                                  69
RemoteMD, LLC - Case Number 22-11254

                                       claim under Rule 3003 was January 6, 2023 and the
                                       deadline for governmental units to file a proof of claim was
                                       May 3, 2023.

         5.2   Distribution            No distribution will be made when no proof of claim has been
                                       filed or timely filed and the Debtor has scheduled such claim
                                       as disputed, contingent, or unliquidated. To the extent that a
                                       claim is filed after January 6, 2023 for general claims and
                                       May 3, 2023 for governmental units, and after the filing of
                                       this Plan, the claim is deemed disallowed.

                                       To the extent that a claim is subject to a pending objection,
                                       the Litigation Trustee will escrow any distribution which will
                                       either be tendered based on the allowed amount after the
                                       entry of a non-appealable final order allowing the claim or
                                       release the funds for future distributions upon the entry of a
                                       non-appealable final order disallowing the claim.

                                       If any distribution is returned as undeliverable or remains
                                       unclaimed after thirty days of the distribution date, no further
                                       distributions to the applicable holder shall be made unless
                                       and until the Litigation Trustee is notified in writing of such
                                       holder's then-current address, and after the Litigation
                                       Trustee makes a reasonable attempt to contact the claim
                                       holder.     Such holders of returned and/or unclaimed
                                       distributions shall be automatically discharged and forever
                                       barred, notwithstanding any federal or state escheat laws to
                                       the contrary. Any funds that are returned to the Litigation
                                       Trustee or not timely presented for payment within thirty
                                       days of the issue date, shall be used by the Litigation
                                       Trustee to make an additional distribution pursuant to the
                                       terms of the Plan. Ninety days after the final distribution, the
                                       Litigation Trustee shall stop payment on any check remining
                                       unpaid and any remaining property of the estate shall be
                                       paid into the Court and disposed of under chapter 129 of title
                                       28.

                                       Whenever a distribution hereunder is required to be made on
                                       a day other than a Business Day, such distribution shall be
                                       made on the first Business Day immediately following,
                                       without interest.

                                       Any other provision of this Plan to the contrary
                                       notwithstanding, no payments of fractions will be made.
                                       Whenever a payment of a fraction of a cent would otherwise
                                       be called for, the actual payment shall reflect a rounding off
{00381052-1}

                                              Page 13 of 29
       Case 22-11254 Doc 329
                         286 Filed 04/04/24
                                   11/15/23 Entered 04/04/24
                                                    11/15/23 09:43:59
                                                             12:26:40 Main Document Page 29
                                                                                         14 of
                                                  30
                                                  69
RemoteMD, LLC - Case Number 22-11254

                                       of such fraction to the nearest whole cent (rounding down in
                                       the case of .5).

                                       Whenever a distribution is less than $15, the funds will not
                                       be distributed shall accumulate and shall be paid whenever
                                       the accumulation aggregates $15. Any funds remaining
                                       shall be distributed with the final payment.


         5.3   Distribution Agent      With the approval of the Bankruptcy Court as indicated in an
                                       order confirming this Plan, distributions provided for in this
                                       Plan will be made by the Litigation Trustee for the Litigation
                                       Trust. Even if the Plan is confirmed under § 1191(b) of the
                                       Bankruptcy Code, the Litigation Trustee, not the Subchapter
                                       V Trustee, shall make all payments to Creditors under the
                                       Plan. Upon completion of all Plan payments, the Litigation
                                       Trustee will serve a final report and final account of the
                                       administration of the estate into the record of the case.

         5.4   Settlement of dispute   The Reorganized Debtor will have the power and authority to
                                       settle and compromise a disputed claim, that is not part of
                                       the Retained Causes of Action, with court approval and
                                       compliance with Federal Rule of Bankruptcy Procedure
                                       9019.

         5.5   Retained Causes
               of Action               Unless any, Retained Causes of Action against an Entity are
                                       expressly waived, relinquished, exculpated, released,
                                       compromised, or settled in the Plan or by a Final Order, in
                                       accordance with § 1123(b) of the Bankruptcy Code, the
                                       Debtor shall retain, for the benefit of the Litigation Trust, at
                                       the Litigation Trustee’s discretion to enforce all rights to
                                       commence and pursue any and all Retained Causes of
                                       Action, whether arising before or after the Petition Date.

                                       NO ENTITY MAY RELY ON THE ABSENCE OF A
                                       SPECIFIC REFERENCE IN THE PLAN TO ANY CAUSE
                                       OF ACTION AGAINST THEM AS ANY INDICATION THAT
                                       THE DEBTOR WILL NOT PURSUE ANY AND ALL
                                       AVAILABLE CAUSES OF ACTION AGAINST THEM. THE
                                       DEBTOR EXPRESSLY RESERVES ALL RIGHTS TO
                                       PROSECUTE ANY AND ALL CAUSES OF ACTION
                                       AGAINST ANY ENTITY, EXCEPT AS OTHERWISE
                                       EXPRESSLY PROVIDED IN THE PLAN.

                                       Unless any Retained Causes of Action against an Entity are
{00381052-1}

                                              Page 14 of 29
       Case 22-11254 Doc 329
                         286 Filed 04/04/24
                                   11/15/23 Entered 04/04/24
                                                    11/15/23 09:43:59
                                                             12:26:40 Main Document Page 30
                                                                                         15 of
                                                  30
                                                  69
RemoteMD, LLC - Case Number 22-11254

                                       expressly waived, relinquished, exculpated, released,
                                       compromised or settled in the Plan or a Bankruptcy Court
                                       order, the Debtor expressly reserves all Retained Causes of
                                       Action for later adjudication by the Litigation Trust, and
                                       therefore, no preclusion doctrine, including, but not limited
                                       to, the doctrines of res judicata, collateral estoppel, issue
                                       preclusion, claim preclusion, estoppel (judicial, equitable or
                                       otherwise) or laches, shall apply to such Retained Causes of
                                       Action upon, after, or as a consequence of the Confirmation
                                       or the Effective Date.

                                       The Debtor reserves and shall retain Retained Causes of
                                       Action notwithstanding the rejection of any Executory
                                       Contract or Unexpired Lease during the Case or pursuant to
                                       the Plan. In accordance with §§ 1123(b)(3) and 1141(b) of
                                       the Bankruptcy Code, any Retained Causes of Action that
                                       the Debtor may hold against any Entity shall vest in the
                                       Debtor. The Debtor shall retain and the Litigation Trust may
                                       exclusively enforce all such Retained Causes of Action. The
                                       Litigation Trustee shall have the exclusive right, authority,
                                       and discretion to determine and to initiate, file, prosecute,
                                       enforce, abandon, settle, compromise, release, withdraw, or
                                       litigate to judgment any such Retained Causes of Action, or
                                       to decline to do any of the foregoing, without the consent or
                                       approval of any third party or any further notice to, or action,
                                       order, or approval of, the Bankruptcy Court.

                                       The Retained Causes of Action reservation for the benefit of
                                       the Litigation Trust includes, whether such action arises from
                                       state or federal law, and includes any action unknown now
                                       but becomes known while asserting a Retained Cause of
                                       Action:

                                             Avoidance Actions
                                             Causes of Action
                                             Objections to filed Proofs of Claim or the schedules
                                             Claims and Causes of Action arising from the
                                              assumption or rejection of Executory Contracts or
                                              Unexpired Leases
                                             Recovery of Remote Equipment, and liquidation of
                                              any Remote Equipment deemed unnecessary for
                                              continued operations by the Reorganized Debtor
                                             Claims and Causes of Action against third parties
                                              arising from the Bankruptcy Case, the Bankruptcy
                                              Code, applicable State law, and applicable federal law
                                             Claims and Causes of Action against the insurers of
{00381052-1}

                                              Page 15 of 29
       Case 22-11254 Doc 329
                         286 Filed 04/04/24
                                   11/15/23 Entered 04/04/24
                                                    11/15/23 09:43:59
                                                             12:26:40 Main Document Page 31
                                                                                         16 of
                                                  30
                                                  69
RemoteMD, LLC - Case Number 22-11254

                                             the Debtor that arose before the Petition Date
                                            Any derivative claims, Claims, or Causes of Action
                                             possessed by the Debtor against its current and
                                             former officers and directors
                                            Claims and Causes of Action against Steele
                                             Strategies, Inc. and Katheryn Steele including breach
                                             of fiduciary duty, mismanagement, and negligence in
                                             the operations of the Debtor; tortious interference with
                                             contracts and business relationships
                                            Claims and Causes of Action against Robert Dudley
                                             including assisting or encouraging another in the
                                             commission of wrongful acts, and breach of fiduciary
                                             duty
                                            Claims and Causes of Action against Richard Veltre
                                             including breach of fiduciary duty, malpractice,
                                             mismanagement of the finances of the Debtor,
                                             Remote Affiliates, and related entities, negligence,
                                             concealing financial information/financial software
                                            Claims and Causes of Action against John Kosmeh
                                             including breach of fiduciary duty, mismanagement,
                                             violation of non-compete agreement, Lanham Act
                                             violations, conversion of property, and tortious
                                             interference with contract
                                            Claims and Causes of Action against AC Skylines
                                             including violation of the automatic stay, conversion of
                                             property, and tortious interference with contract
                                            Claims and Causes of Action against Noble Drilling
                                             (U.S.) LLC (or related Noble entity) and Remote
                                             Medical International (or related entity) including for
                                             non-return of Debtor assets
                                            Claims and Causes of Action against Deidre
                                             Wheatley Liss and Porzio, Bromberg & Newman
                                             including for breach of fiduciary duty and lawyer/client
                                             confidences
                                            Claims and Causes of Action against United Church
                                             Homes including for conversion of Debtor assets
                                            Claims and Causes of Action against Steven Birch
                                             including disclosure of private information to third
                                             parties
                                            Claims and Causes of Action against Shannon
                                             Robbins      Davidoff     including   for    negligence,
                                             mismanagement, breach of fiduciary duty and loss of
                                             business and loss of revenue

                                             The Petitioning Creditors have requested that the
{00381052-1}

                                             Page 16 of 29
       Case 22-11254 Doc 329
                         286 Filed 04/04/24
                                   11/15/23 Entered 04/04/24
                                                    11/15/23 09:43:59
                                                             12:26:40 Main Document Page 32
                                                                                         17 of
                                                  30
                                                  69
RemoteMD, LLC - Case Number 22-11254

                                             following claims be preserved, and in the exercise
                                             of its fiduciary duty, the Debtor is preserving the
                                             claims in accordance with applicable Fifth Circuit
                                             jurisprudence and case law:

                                            Claims and causes of action related to or involving the
                                             transfer or advancement of funds or property or the
                                             incurrence of any obligation by the Debtor to any of
                                             the Remote Affiliates
                                            Claims and causes of action that the Remote Affiliates
                                             and the Debtor constitute a single business enterprise
                                             or should be subject to substantive consolidation
                                            Claims and causes of action based on the transfer of
                                             funds or property or incurrence of any obligation to
                                             any Insider
                                            Claims and causes of action based on
                                             mismanagement and breach of fiduciary duties
                                             against Dr. Michael Kotler and any other members,
                                             managers, owners, officers, directors, employees and
                                             professionals of Remoted, Remote Affiliates and any
                                             Insiders
                                            Claims and causes of action against Dr. Michael
                                             Kotler and any Insiders based on usurpation of
                                             corporate opportunities
                                            Directors & Officers claims and causes of action
                                             against any Insiders or their insurers, including, but
                                             not limited to, breach of any duties owed to the Debtor
                                            Claims and causes of action against non-debtor
                                             entities who participated or facilitated misconduct as
                                             to the Debtor
                                            Claims and causes of action for recovery of payments
                                             by the Debtor to Insiders
                                            Claims and causes of action against professionals
                                             that provided services prepetition to the Debtor
                                            Claims and causes of action against persons or
                                             entities who received distributions from the Debtor
                                            Claims and causes of action against persons or
                                             entities who engaged in theft or fraud as to the Debtor
                                             or its assets
                                            Claims and causes of action for misappropriation of
                                             Debtor property.
                                            Objections to and/or subordination of claims
                                            All Chapter 5 avoidance and other actions and claims
                                             and causes of action under 11 U.S.C. § 724.
                                            Claims and causes of action against any third parties
{00381052-1}

                                             Page 17 of 29
       Case 22-11254 Doc 329
                         286 Filed 04/04/24
                                   11/15/23 Entered 04/04/24
                                                    11/15/23 09:43:59
                                                             12:26:40 Main Document Page 33
                                                                                         18 of
                                                  30
                                                  69
RemoteMD, LLC - Case Number 22-11254

                                              based on breach of contract.

                                        The Petitioning Creditors and the Debtor assert that the
                                        foregoing list is a preliminary list. It may be amended or
                                        modified to include any additional claims and causes of
                                        action that may be discovered through the Rule 2004
                                        examinations of the Debtor, the Petitioning Creditors, family
                                        members and/or the Insiders. All rights are reserved.

                                        To the extent necessary the Debtor will file a Plan
                                        Supplement 5 days prior to the Confirmation Hearing that will
                                        contain any additional claims that the Petitioning Creditors
                                        and/or the Debtor assert exists. The claims identified in the
                                        Plan Supplement shall constitute additional retained claims.

         Article 6: Provisions for Executory Contracts and Unexpired Leases

         6.1   Assumption/rejection     (a) To the extent that the Debtor is lessee, and except for
                                        executory contracts and unexpired leases that have been
                                        assumed or rejected by order of the Court before the
                                        Effective Date, or that are the subject of a pending motion to
                                        assume or reject, the Debtor will conclusively deemed to
                                        have rejected all executory contracts and unexpired leases
                                        as of the effective date, which includes:

                                        Data Sales Co.
                                        Mody Capital LLC

                                        A proof of claim arising from the rejection of an executory
                                        contract or unexpired lease under this section must be filed
                                        no later than 30 days after the date of entry of the order
                                        confirming this Plan.

                                        Out of an abundance of caution and for full disclosure, the
                                        Debtor does not believe that health insurance benefit
                                        agreements with insurance providers, that is those providers
                                        that reimburse health care providers for medical services
                                        rendered for patients are executory contracts. However, the
                                        Debtor states that such health insurance benefit agreements
                                        will remain effective between the Debtor and the provider
                                        post-effective date.

         Article 7: Means for Implementation of the Plan and Continued Management

               The business model of the Debtor is such that the management and accounting staff
         that perform services for the Debtor (collectively, the “Back of House Employees”) are
{00381052-1}

                                               Page 18 of 29
       Case 22-11254 Doc 329
                         286 Filed 04/04/24
                                   11/15/23 Entered 04/04/24
                                                    11/15/23 09:43:59
                                                             12:26:40 Main Document Page 34
                                                                                         19 of
                                                  30
                                                  69
RemoteMD, LLC - Case Number 22-11254

         employed through MedClinic Management, LLC. The Debtor, each pay period funds the
         wages and all associated costs for the Back of House Employees.

                The Debtor anticipates that Dr. Michael Kotler, the owner and chief medical officer, who
         is an insider of the Debtor, will continue in his position as sole officer and director of the
         Debtor. The pro forma attached hereto does not include a reduction for the compensation of
         Dr. Michael Kotler and Dr. Michael D. Kotler even though both will continue in their positions.
         Thus, any compensation to any Insider will not reduce projected disposable income for Plan
         payments to Class 3.


         Article 8: General Provisions

         8.1   Definitions/Rules          The definitions and rules of construction set forth in §§ 101
                                          and 102 of the Bankruptcy Code shall apply when terms
                                          defined or construed in the Code are used in this Plan.

         8.2   Effective Date             The effective date of this Plan is the first business day
                                          following the date that is 14 days after the entry of the
                                          confirmation order. If, however, a stay of the confirmation
                                          order is in effect on that date, the effective date will be the
                                          first business day after the day on which the stay expires or
                                          is otherwise terminated. The projected Effective Date is
                                          December 30, 2023.

                                          Except as provided in this Plan or the order confirming this
                                          Plan, all of the property of the estate, pursuant to §§ 1141(b)
                                          and 1141(c) of the Bankruptcy Code, vests in the Debtor as
                                          of the Effective Date free and clear of any claim or interest of
                                          any creditor provided for by this Plan.


         8.3   Severability               If any provision in this Plan is determined to be
                                          unenforceable, the determination will in no way limit or affect
                                          the enforceability and operative effect of any other provision
                                          of the Plan.

         8.4   Binding Effect             The rights and obligations of any entity named or referred to
                                          in this Plan will be binding upon and will inure to the benefit
                                          of the successors and assigns of such entity.

                                          Except as provided in §§ 1141 or 1192 of the Bankruptcy
                                          Code, as applicable, the provisions of this Plan shall, upon
                                          confirmation, bind the Debtor, each and every creditor of this
                                          estate and each party in interest, whether or not the claim of
                                          such creditor or party is provided for by the Plan and
{00381052-1}

                                                  Page 19 of 29
       Case 22-11254 Doc 329
                         286 Filed 04/04/24
                                   11/15/23 Entered 04/04/24
                                                    11/15/23 09:43:59
                                                             12:26:40 Main Document Page 35
                                                                                         20 of
                                                  30
                                                  69
RemoteMD, LLC - Case Number 22-11254

                                           whether or not such creditor or party has accepted or has
                                           rejected the Plan.


         8.5    Captions                   The headings contained in this Plan are for convenience of
                                           reference only and do not affect the meaning or
                                           interpretation of this Plan.

         8.6    Controlling Effect         Unless a rule of law or procedure is supplied by federal law
                                           (including the Code or the Federal Rules of Bankruptcy
                                           Procedure), the laws of the State of Louisiana govern this
                                           Plan, and any agreements, documents, and instruments
                                           executed with this Plan, except as otherwise provide in the
                                           Plan and/or the agreement.

         8.7    Corporate Governance       Upon the effective date of this Plan, the Debtor shall be
                                           deemed authorized and approved without any or further
                                           order or corporate action to take all actions reasonably
                                           necessary to effectuate this Plan.

         8.8    Jurisdiction               Notwithstanding the entry of an order confirming this Plan,
                                           the bankruptcy court shall retain and have exclusive
                                           jurisdiction after the effective date over any matter arising
                                           under the Code.

         8.9    Post-Petition Expenses Subchapter V Trustee: Should this Plan confirm pursuant to
                                       Section 1191(b), to the extent that the Subchapter V Trustee
                                       incurs any post-petition expenses, such amounts should be
                                       sent to the Debtor directly, with a copy to the United States
                                       Trustee and notice filed on the docket. The statement
                                       should be billed hourly, with a description of the services
                                       provided. If there is no objection to the fee request within
                                       fourteen (14) days of the notice filed on the docket, then the
                                       Debtor is directed to compensate the Subchapter V Trustee.
                                       If there is an objection, the matter is to be set for hearing for
                                       Court determination of the objection.

         8.10   Vesting of Assets          Except as otherwise explicitly provided for in the Plan, on the
                                           Effective Date, all property comprising assets of the Estate
                                           (including Retained Causes of Actions, but excluding
                                           property that has been abandoned or settled pursuant to an
                                           order of the Bankruptcy Court) shall vest in Reorganized
                                           Debtor or the Litigation Trust, as applicable, free and clear of
                                           all Claims, Liens, charges, encumbrances, rights, and
                                           interests of creditors. As of and following the Effective Date,
                                           the Reorganized Debtor may operate its businesses and
{00381052-1}

                                                  Page 20 of 29
       Case 22-11254 Doc 329
                         286 Filed 04/04/24
                                   11/15/23 Entered 04/04/24
                                                    11/15/23 09:43:59
                                                             12:26:40 Main Document Page 36
                                                                                         21 of
                                                  30
                                                  69
RemoteMD, LLC - Case Number 22-11254

                                           use, acquire, and dispose of property and settle and
                                           compromise Claims or Interests without the supervision of
                                           the Bankruptcy Court, free of any restrictions of the
                                           Bankruptcy Code or Bankruptcy Rules, other than those
                                           restrictions expressly imposed by the Plan and the
                                           Confirmation Order.
         Article 9: Discharge


                 If the Debtor’s Plan is confirmed under § 1191(a) of the Bankruptcy Code, on the
         effective date of the Plan, the Debtor will be discharged from any debt that arose before
         confirmation of this Plan, to the extent specified in § 1141(d)(1)(A) of the Bankruptcy Code,
         except that the Debtor will not be discharged of any debt:

         (i)    imposed by this Plan; or

         (ii)   to the extent provided in § 1141(d)(6) of the Bankruptcy Code.

                If the Debtor’s Plan is confirmed under § 1191(b) of the Bankruptcy Code, confirmation
         of this Plan does not discharge any debt provided for in this Plan until the court grants a
         discharge on completion of all payments due within the first 3 years of this Plan, or as
         otherwise provided in § 1192 of the Bankruptcy Code. The Debtor will not be discharged from
         any debt:

         (i)   on which the last payment is due after the first 3 years of the plan, or as otherwise
         provided in § 1192 of the Bankruptcy Code; or

         (ii)  excepted from discharge under § 523(a) of the Bankruptcy Code, except as provided in
         Rule
         4007(c) of the Federal Rules of Bankruptcy Procedure.

         Article 10: Other Provisions

         10.1   Subchapter V Trustee       If this Plan is confirmed as consensual under § 1191(a) of
                                           the Bankruptcy Code, § 1194 of the Bankruptcy Code does
                                           not contemplate that the Subchapter V Trustee will make the
                                           Plan distributions. Under a consensual Plan, the Subchapter
                                           V Trustee’s services terminate upon substantial
                                           consummation.

                                           If this Plan is confirmed as non-consensual under § 1191(b)
                                           of the Bankruptcy Code, § 1194(b) of the Bankruptcy Code
                                           provides that the Subchapter V Trustee shall make
                                           payments to creditors under the Plan.            However, as
                                           otherwise provided in this Plan, and if approved by this Court
                                           in the order confirming this Plan, the Litigation Trustee shall
{00381052-1}

                                                   Page 21 of 29
       Case 22-11254 Doc 329
                         286 Filed 04/04/24
                                   11/15/23 Entered 04/04/24
                                                    11/15/23 09:43:59
                                                             12:26:40 Main Document Page 37
                                                                                         22 of
                                                  30
                                                  69
RemoteMD, LLC - Case Number 22-11254

                                       make the payments to the creditors and comply with the
                                       necessary reporting requirements.


         10.2   Substantial
                Consummation           Substantial consummation occurs upon the transfer of all
                                       property proposed by the plan to be transferred (§
                                       1101(2)(A)), assumption by the debtor or successor of the
                                       business or of the management of all or substantially all of
                                       the property dealt with by the Plan (§ 1101(d)(B)), and
                                       commencement of distributions under the Plan (§
                                       1101(2)(C)). No later than 14 days after the Plan is
                                       substantially consummated, the Debtor shall file notice of
                                       such substantial consummation (§ 1183(c)(2)).

         10.3   Consensual
                Confirmation           If all applicable requirements in § 1129(a) of the Bankruptcy
                                       Code are met except for the projected disposable income
                                       rule of § 1129(a)(15) of the Bankruptcy Code – which applies
                                       to individual debtors - § 1191(a) of the Bankruptcy Code
                                       requires the Court to confirm this Plan.

         10.4   Non-consensual
                Confirmation           Under § 1191(b) of the Bankruptcy Code, confirmation is
                                       permitted even if the requirements of § 1129 (8), (10) and
                                       (15) of the Bankruptcy Code are not meet. Thus, cramdown
                                       does not require that (1) all impaired classes accept the plan
                                       or (2) at least one impaired class accepts the plan. Instead
                                       § 1191(b) of the Bankruptcy Code cramdown rules (1) permit
                                       cramdown confirmation even if all impaired classes do not
                                       accept the plan. Thus, if all other confirmation standards ae
                                       met, the Court must confirm the Plan, on the request of the
                                       Debtor, if, with respect to each impaired class that has not
                                       accepted it, the Plan (1) does not discriminate unfairly; and
                                       (2) is fair and equitable.

         10.5   Disposable Income      A plan must provide that all projected disposable income of
                                       the Debtor to be received in the three-year period or longer
                                       period as fixed by the Court after the first payment under the
                                       Plan is due. Alternatively, the plan may provide that the
                                       value of property to be distributed under the plan within the
                                       three-year period or longer period as fixed by the Court that
                                       is no less than the projected disposable income of the
                                       debtor.

                                       Under § 1191(d) of the Bankruptcy Code, projected
{00381052-1}

                                              Page 22 of 29
       Case 22-11254 Doc 329
                         286 Filed 04/04/24
                                   11/15/23 Entered 04/04/24
                                                    11/15/23 09:43:59
                                                             12:26:40 Main Document Page 38
                                                                                         23 of
                                                  30
                                                  69
RemoteMD, LLC - Case Number 22-11254

                                       disposable income is defined as income that is received by
                                       the debtor that is not reasonably necessary to be expended
                                       for these specific purposes: (i) the maintenance or support of
                                       the debtor or a dependent of the debtor; or (ii) a domestic
                                       support obligation that first becomes payable after the date
                                       of the filing of the petition, or (iii) payment of expenditures
                                       necessary for the continuation, preservation, or operation of
                                       the business of the debtor. The Plan Proponent has provided
                                       projected financial information as Exhibit B.




         Agreed to and submitted by:




         /s/ Michael D. Kotler, MD
         Member/Manager




{00381052-1}

                                              Page 23 of 29
       Case 22-11254 Doc 329
                         286 Filed 04/04/24
                                   11/15/23 Entered 04/04/24
                                                    11/15/23 09:43:59
                                                             12:26:40 Main Document Page 39
                                                                                         24 of
                                                  30
                                                  69
RemoteMD, LLC - Case Number 22-11254




                                                DEFINITIONS

        Unless the context otherwise requires, the following terms shall have the following meanings whether
capitalized or not in the Plan:

       1.     "Administrative Claim" means a Claim for costs and expenses of administration of the Case
pursuant to §§ 503(b), 507(a)(2), 507(b) or 1114I(2) of the Bankruptcy Code, including, (a) the actual and
necessary costs and expenses incurred on or after the Petition Date until and including the Effective Date
of preserving the Estate and operating the Debtor's business; and (b) Allowed Professional Fee Claims.

        2.     "Allowed" means with respect to any Claim or Interest, except as otherwise provided in the
Plan: (a) a Claim that either (i) is not Disputed or (ii) has been allowed by Final Order; (b) a Claim that is
allowed, compromised, settled or otherwise resolved (i) pursuant to the terms of the Plan, (ii) in any
stipulation that is approved by the Bankruptcy Court by a Final Order or (iii) pursuant to any contract,
instrument, indenture or other agreement entered into or assumed in connection herewith; (c) a Claim
relating to a rejected Executory Contract or Unexpired Lease that either (i) is not a Disputed Claim or (ii)
has been allowed by Final Order; or (d) a Claim or Equity Interest as to which as a Proof of Claim or Proof
of Interest, as applicable, has been timely Filed and as to which no objection has been Filed.

         3.     "Avoidance Action" means any and all actual or potential claims or causes of action to avoid a
transfer of property or an obligation incurred by the Debtor arising under §§ 502(d), 542, 544, 545, 547,
548, 549, 550, 551, 552, or 553(b) of the Bankruptcy Code, or under similar or related state or federal
statutes or common law, including fraudulent transfer and conveyance laws, in each case whether or not
litigation to prosecute such Claim(s) or Cause(s) of Action was commenced prior to the Effective Date.

       4.     "Ballot" means the ballot form distributed to holders of Impaired Claims and Interests entitled
to vote under the Plan.

      5.      "Bankruptcy Code" means the title 11 of the United States Code, 11 U.S.C. §§ 101-1532, as
now in effect for hereafter amended, and the rules and regulations promulgated thereunder.

       6.    "Bankruptcy Court" refers to the United States Bankruptcy Court for the Eastern District of
Louisiana or such other court having jurisdiction over the Case, including, to the extent of the withdrawal of
the reference under 28 U.S.C. § 157, the United States District Court for the Eastern District of Louisiana.

       7.     "Bankruptcy Rules" means the Federal Rules of Bankruptcy Procedure as promulgated by the
United States Supreme Court under Section 2075 of title 28 of the United States Code, 28 U.S.C. § 2075,
as applicable to the Case and the general, local and chambers rules of the Bankruptcy Court, as now in
effect or hereafter amended.

      8.    "Case" refers to this case, no. 22-11254, under Subchapter V of Chapter 11 of the Bankruptcy
Code in which the Debtor is the debtor-in-possession.

     9.     "Causes of Action" means any claims, interests, damages, remedies, causes of action,
demands, rights, actions, suits, obligations, liabilities, accounts, defenses, offsets, powers, privileges,
{00381052-1}

                                                 Page 24 of 29
       Case 22-11254 Doc 329
                         286 Filed 04/04/24
                                   11/15/23 Entered 04/04/24
                                                    11/15/23 09:43:59
                                                             12:26:40 Main Document Page 40
                                                                                         25 of
                                                  30
                                                  69
RemoteMD, LLC - Case Number 22-11254

licenses, Liens, indemnities, guaranties and franchises of any kind or character whatsoever, whether known
or unknown, foreseen or unforeseen, existing or hereinafter arising, contingent or non-contingent, liquidated
or unliquidated, secured or unsecured, assertable, directly or derivatively, matured or unmatured,
suspected or unsuspected, in contract, tort, law equity or otherwise. Causes of Action also include: (a) all
rights of set off, counterclaim or recoupment and claims under contracts or for breaches of duties imposed
by law; (b) the right to object to or otherwise contest Claims or Interests or Proofs of Claims; (c) claims
pursuant to §§ 362, 510, 542, 543, 544 through 550, or 553 of the Bankruptcy Code; (d) such claims and
defenses as fraud, mistake, duress and usury, and any other defenses set forth in § 558 of the Bankruptcy
Code; and any state or foreign law fraudulent transfer or similar claim.

      10.    "Claim" means any claim, as defined in § 101(5) of the Bankruptcy Code, against the Debtor,
whether or not assessed or asserted, or any claim, as defined in § 105(5) of the Bankruptcy Code, that can
be asserted by the Debtor against any other person, third party or entity, whether or not assessed or
asserted.

         11.   "Class" means category of holders of Claims or Interests under § 1122(a) of the Bankruptcy
Code.

       12.   "Confirmation" means entry of the Confirmation Order by the Bankruptcy Court on the docket
of the Case.

      13.    "Confirmation Date" means the date on which the Bankruptcy Court enters the Confirmation
Order on the docket of this Case within the meaning of Bankruptcy Rules 5003 and 9021.

       14.  "Confirmation Hearing" means the hearing held by the Bankruptcy Court pursuant to
Bankruptcy Rule 3020(b)(2) and § 1128 of the Bankruptcy Code, including any adjournments thereof, at
which the Bankruptcy Court will consider confirmation of the Plan.

         15.   "Creditor" has the meaning assigned to such term in § 101(10) of the Bankruptcy Code.

         16.   "Debtor" means RemoteMD, LLC, the debtor-in-possession in this Case.

         17.    "Disputed Claim" means a Claim, or any portion thereof: (a) which is listed in the Schedules
as disputed, contingent, or unliquidated; or (b) as to which (i) a Proof of Claim has been Filed, (ii) an
objection, or request for estimation, has been timely Filed (and not withdrawn) by any party-in-interest, and
(iii) no Final Order has been entered thereon.

        18.   "Effective Date" means the date that is the first Business Day after the Confirmation Date on
which all conditions precedent to the occurrence of the Effective Date set forth in the Plan have been
satisfied or waived in accordance with the Plan.

      19.   "Estate" means the estate of the Debtor in the Case created pursuant to § 541 of the
Bankruptcy Code.

         20.   “Evergreen” means Evergreen Working Capital, LLC.

{00381052-1}

                                                Page 25 of 29
       Case 22-11254 Doc 329
                         286 Filed 04/04/24
                                   11/15/23 Entered 04/04/24
                                                    11/15/23 09:43:59
                                                             12:26:40 Main Document Page 41
                                                                                         26 of
                                                  30
                                                  69
RemoteMD, LLC - Case Number 22-11254

     21.    "Executory Contract" means a contract to which the Debtor is a party that is subject to
assumption or rejection under § 365 of the Bankruptcy Code.

       22.    "Final Order" means, as applicable, an order or judgment of the Bankruptcy Court or other
court of competent jurisdiction with respect to the relevant subject matter that has not been reversed,
modified, or amended, is not subject to any pending stay and as to which the time to appeal, move for re-
argument, reconsideration, or rehearing, or seek certiorari has expired and no appeal, motion for re-
argument, reconsideration, or rehearing or petition for certiorari has been timely taken or filed, or as to
which any appeal that has been taken, motion for re-argument, reconsideration, or rehearing that has been
granted or any petition for certiorari that has been or may be filed has been resolved by the highest court to
which the order or judgment could be appealed or from which certiorari could be sought or the new trial, re-
argument, reconsideration, or rehearing shall have been denied, resulted in no modification of such order,
or has otherwise been dismissed with prejudice; provided that the possibility that a motion under Rule 60 of
the Federal Rules of Civil Procedure or any comparable Bankruptcy Rule may be filed relating to such order
or judgment shall not cause such order or judgment to not be a Final Order.

      23.     "General Unsecured Claim" means any Claim that is not Secured and is not an Administrative
Claim (including, for the avoidance of doubt, a Professional Fee Claim), Convenience Claim, or a Priority
Tax Claim.

         24.   "Governmental Unit" has the meaning set forth in § 101(27) of the Bankruptcy Code.

       25.   "Impaired" means, with respect to any Class of Claims or Interests, a Claim or an Interest that
is not Unimpaired.

       26.    "Insider(s)" has the meaning set forth in § 101(31) of the Bankruptcy Code, and includes, but
is not limited to, Dr. Michael Kotler, Dr. William Kotler, Agnes Kotler, Kaitlin Kotler, and Courtney Kotler.
The Petitioning Creditors assert that Lisa Jones, Shane Birchall, Paul LeBlanc and Cooper CPA are
insiders of the Debtor. Other parties that could be included as an Insider include Steele Strategies Inc,
Kathryn Steele, Robert Dudley, Richard Veltre, John Kosmeh, Deidre Wheatley Liss, Porzio, Bromberg &
Newman, Andy Kimmel, Shannon Robbins-Davidoff, and Steven Birch.

       27.     "Interest" means any common stock, limited liability company interest, equity security (as
defined in § 101(16) of the Bankruptcy Code), equity, ownership, profit interests, unit, or share in a Debtor,
including all issued, unissued, authorized, or outstanding shares of capital stock of the Debtor and any
other rights, options, warrants, stock appreciation rights, phantom stock rights, restricted stock units,
redemption rights, repurchase rights, convertible, exercisable or exchangeable securities or other
agreements, arrangements or commitments of any character relating to, or whose value is related to, any
such interest or other ownership interest in any Debtor.

         28.   "Lien" has the meaning set forth in § 101(37) of the Bankruptcy Code.

       29.   “Litigation Trust Agreement” means the agreement attached to the Plan, subject to approval
by the Bankruptcy Court and the United States Trustee at the Confirmation Hearing.


{00381052-1}

                                                 Page 26 of 29
       Case 22-11254 Doc 329
                         286 Filed 04/04/24
                                   11/15/23 Entered 04/04/24
                                                    11/15/23 09:43:59
                                                             12:26:40 Main Document Page 42
                                                                                         27 of
                                                  30
                                                  69
RemoteMD, LLC - Case Number 22-11254

       30.  “Litigation Trust Assets” means all Disposable Income, payments by Remote Texas pursuant
to the Remote Texas Note, and all Retained Causes of Action.

      31.    “Litigation Trustee” means the individual or entity identified by the Petitioning Creditors, or
such other individual or entity approved by the Bankruptcy Court and the United States Trustee at the
Confirmation Hearing, shall be appointed as the Litigation Trustee under this Plan

        32.   “Order for Relief” means November 4, 2022, when the Bankruptcy Court granted the Debtor
relief under Chapter 11 of the Bankruptcy Code.


         33.   "Person" has the meaning set forth in § 101(41) of the Bankruptcy Code.

       34.    “Petitioning Creditors” means Robert Dudley, Premier Laboratory Services, Inc., Steel
Strategies, Inc., Securitas Security Services USA, Inc. and KJG Strategies.

    35.    "Petition Date" means October 8, 2022, the date on which the Petitioning Creditors
commenced the Case by Filing an involuntary petition for relief under Chapter 11 of the Bankruptcy Code.

         36.   "Person" has the meaning set forth in § 101(41) of the Bankruptcy Code.

       37.    "Plan" means this Subchapter V plan, including all exhibits, supplements, appendices, and
schedules hereto, either in its present form or as the sale may be altered, amending, or modified from time-
to-time in accordance with the provisions of the Bankruptcy Code and the terms hereof.

      38.   "Priority Claim" means any Claim, or portion thereof, entitled to priority under § 507(a) of the
Bankruptcy Code.

       39.     "Priority Tax Claim" means any Priority Claim (or portion of a Claim) held by a Governmental
Unit that is entitled to priority under § 507(a)(8) of the Bankruptcy Code.

      40.    "Pro Rata" means the proportion that an Allowed Claim or an Allowed Interest in a particular
Class bears to the aggregate amount of Allowed Claims or Allowed Interests in that Class.

       41.    "Professional" means an Entity retained in the Case pursuant to a Final Order in accordance
with §§ 327, 363, and 1103 of the Bankruptcy Code and to be compensated for services rendered prior to
or on the Effective Date pursuant to §§ 327, 328, 329, 330, 331, or 363 of the Bankruptcy Code.

       42.    "Professional Fee Claims" means all Claims for accrued, contingent, and/or unpaid fees and
expenses (including transaction and success fees) incurred by a Professional in the Case on or after the
Petition Date and through and including the Confirmation Date that the Bankruptcy Court has not denied by
Final Order. To the extent that the Bankruptcy Court or any higher court of competent jurisdiction denies or
reduces by a Final Order any amount of a Professional's fees or expenses, then those reduced or denied
amounts shall no longer constitute Professional Fee Claims.


{00381052-1}

                                                Page 27 of 29
       Case 22-11254 Doc 329
                         286 Filed 04/04/24
                                   11/15/23 Entered 04/04/24
                                                    11/15/23 09:43:59
                                                             12:26:40 Main Document Page 43
                                                                                         28 of
                                                  30
                                                  69
RemoteMD, LLC - Case Number 22-11254

         43.   "Projected Disposable Income" has the meaning set forth in § 1191(d) of the Bankruptcy
Code.

         44.   "Proof of Claim" means a proof of Claim filed against the Debtor in the Case.

       45.    “Remote Affiliates” has the meaning set forth in § 101(2) of the Bankruptcy Code and
includes, but not limited to, Pelican State Industrial Medicine, Inc., MCM MedClinic Management, LLC, Elite
Healthcare, LLC, Remote ER, LLC, RemoteMD Texas, PLLC, REmoteMD Services, Guyana, and
RemoteMD Suriname.

      46.    “Remote Equipment” means any equipment owned by the Debtor, including but not limited to
the assets as listed on Schedule B, whether such equipment is in the possession of the Debtor or in the
possession of a third party, including Noble Drilling (U.S.) LLC, RMI and/or Edison Chouest Offshore.

      47.     “Remote Receivables” means any account receivable owed to the Debtor on the Effective
Date that is outstanding for 90 days or greater which includes, but not limited to, the following with the
amounts owed estimated: (i) Advanced Workplace Strategies, Inc. - $12,136.71; (ii) Cameron, a SLB
Company - $68,888.97; (iii) Maersk Valiant - $25,218.81; (iv) Noble Drilling (U.S.) LLC - $173,548.93; (v)
Schlumberger Technology Corporation - $44,200.00; (vi) Schlumberger – Houma - $22,704.73; (vii)
Schlumberger Guyana - $146,172.83; (viii) Seacor Marine c/o Ramps Logistics - $17,125.00; (xi) United
Church Homes - $180,000.00. The Remote Receivables are to be retained by the Debtor, for collection by
the Debtor to be included in the funds available for the Reorganized Debtor.

     48.     “Remote Texas” means Remote MD Texas, PLLC formed as a domestic limited liability
company in the State of Texas.

       49.    “Remote Texas Note” means the note payable from Remote Texas to the Debtor subject to
8% interest with: (i) the Debtor receiving $30,000.00 payable in six (6) installments of $5,000.00 per month
to commence at the end of the first full month following the Effective Date; (ii) the Debtor receiving
$240,000.00 payable in twenty-four (24) installments of $10,000.00 per month starting on the seventh full
month following the Effective Date; (iii) a balloon payment of the remaining amount due plus accrued
interest the month following the last $10,000.00 installment.

      50.     "Reorganized Debtor" means the Debtor as reorganized on and after the Effective Date
pursuant to the provisions of the Plan.

         51.   “Retained Causes of Action” has the meaning set forth in

      52.     "Secured" means, when referring to a Claim: (a) secured by a valid, perfected, and
enforceable lien on collateral to the extent of the value of such collateral, as determined in accordance with
§ 506(a) of the Bankruptcy Code or (b) subject to a valid right of setoff pursuant to § 553 of the Bankruptcy
Code.

     53.   "Subchapter V" refers to §§ 1181 to 1195 of the Bankruptcy Code, as now in effect hereafter
amended, and the rules and regulations promulgated thereunder.

{00381052-1}

                                                 Page 28 of 29
       Case 22-11254 Doc 329
                         286 Filed 04/04/24
                                   11/15/23 Entered 04/04/24
                                                    11/15/23 09:43:59
                                                             12:26:40 Main Document Page 44
                                                                                         29 of
                                                  30
                                                  69
RemoteMD, LLC - Case Number 22-11254

         54.   "Substantial Consummation" shall have the meaning set forth in § 1101(2) of the Bankruptcy
Code.


       55.   "Trustee" or "Subchapter V Trustee" means and refers to Craig Geno, the duly appointed,
acting and authorized Subchapter V trustee for the Estate.

      56.    "Unimpaired" means a Class of Claims or Interests that is unimpaired within the meaning of §
1124 of the Bankruptcy Code.

       57.    "Unexpired Lease" means a lease to which the Debtor is a party that is subject to assumption
or rejection under § 365 of the Bankruptcy Code.




{00381052-1}

                                               Page 29 of 29
Case 22-11254 Doc 329
                  286 Filed 04/04/24
                            11/15/23 Entered 04/04/24
                                             11/15/23 09:43:59
                                                      12:26:40 Main Document Page 45
                                                                                  30 of
                                           30
                                           69
Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 46 of
                                           69
Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 47 of
                                           69
Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 48 of
                                           69
Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 49 of
                                           69
Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 50 of
                                           69
Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 51 of
                                           69
Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 52 of
                                           69
Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 53 of
                                           69
Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 54 of
                                           69
Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 55 of
                                           69
Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 56 of
                                           69
Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 57 of
                                           69
Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 58 of
                                           69
Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 59 of
                                           69
Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 60 of
                                           69
Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 61 of
                                           69
Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 62 of
                                           69
Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 63 of
                                           69
Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 64 of
                                           69
Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 65 of
                                           69
Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 66 of
                                           69
Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 67 of
                                           69
Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 68 of
                                           69
Case 22-11254 Doc 329 Filed 04/04/24 Entered 04/04/24 09:43:59 Main Document Page 69 of
                                           69
